
In re Pryke, John William; Ayliffe, Claude James; St. Katherine Insurance *1285PL.; British National Life Ins.; Assicurazioni Gen’l. SPA; Britamco Ltd.; Insio, Ltd.; Union American Ins. Co.; Wallbrook Ins. Co. Ltd.; Winterthur Swiss Ins. Co.; El Paso Insurance Co. Ltd.; Mutual Reinsurance Co. Ltd.; Dart Insurance Co. Ltd.; Bermuda Fire &amp; Marine Ins. Ltd; Campagnie Europeenne D’Assn.; S.A. Bryanston Ins. Co. Ltd.; Louisville Ins. Ltd. q; Companies Per H.S. Weavers; Yasuda Ins. Co. Ltd.; Leslie, Per; Goodwin Agencies Ltd.; Sovereign Marine &amp; Gen’l. Ins.; Tokio Marine &amp; Fire Ins. U.K.; Taisho Marine &amp; Fire Ins. U.K.; Allianz Internation Ins. Ltd.; Storebran Insurance Co. U.K.; Faber, Willis Undrwrt. Mangt.; Dominion Ins. Co. Ltd.; Union American Ins. Ltd.; H.S. Weavers Agny. Ltd. Gp. A; H.S. Weavers Agny. Ltd. Gp. B; Stronghold Ins. Co. Ltd.; Lexington Insurance Co.; Turegun Ins. Co.; Mentor Insurance Co. U.K.; Scan Reinsurance Co. Ltd.; Heddington Ins. Co. U.K.; Brittany Insurance Co. Ltd.; British National Ins. Co. Ltd.; — Defendant(s); applying for writ of certiorari and/or review; to the Court of Appeal, Fifth Circuit, No. 89-CA-0234; Parish of Jefferson, 24th Judicial District Court, Div. “B”, No. 294-458.
Prior report: La.App., 550 So.2d 1356.
Denied.
